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                        UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO


  NELSON-RICKS CHEESE COMPANY,                  Case No. 4:16-cv-00427-DCN
  INC., an Idaho corporation,
                                                MEMORANDUM DECISION AND
                                                ORDER
        Plaintiff,

         v.

  LAKEVIEW CHEESE COMPANY,
  LLC, a Nevada limited liability company,

        Defendant.



                                 I. INTRODUCTION

      Pending before the Court is Defendant Lakeview Cheese Company LLC’s

(“Lakeview”) Motion for Sanctions. Dkt. 83. Upon review, the Court will GRANT IN

PART and DENY IN PART Lakeview’s Motion as outlined below.

                                 II. BACKGROUND

      On September 29, 2017, Nelson-Ricks Cheese Company, LLC (“NRCC”) notified

Lakeview that it had served subpoenas on fifteen Lakeview customers seeking financial

information related to Lakeview’s sales over a five-year period. On October 20, 2017,

Lakeview filed an Emergency Motion to Quash the Subpoenas. Dkt. 47. The Court

granted the Motion to Quash and issued a Protective Order on October 26, 2017. Dkt. 57.


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       In its decision on the Motion to Quash, the Court found that the subpoenas were

improper, that NRCC issued them in violation of the protective order in place at the time

(by not including a copy of the protective order), and that the subpoenas directed the

customers to tender their responses to Greenberg Cheese Company—a non-party to this

lawsuit, a direct competitor of Lakeview’s, and the principle place of business of

NRCC’s CEO, Michael Greenberg. Id. The Court concluded that Lakeview, not the

fifteen non-party customers, was the correct party from which to get this information and

that the customers might have inadvertently disclosed sensitive financial information as a

result of the subpoenas.

       In light of the Court’s decision, Lakeview filed a Motion to Amend Answer (Dkt.

66), seeking to add a counterclaim against NRCC for abuse of process. In its discretion,

the Court denied the Motion (Dkt. 81), but ruled that it would entertain a motion for

sanctions. Relying on Rule 1 and the Court’s duty to “secure the just, speedy, and

inexpensive determination of every action and proceeding,” Fed. R. Civ. P. 1, the Court

reasoned the additional time and expense of a counterclaim outweighed any possible

benefit. However, the Court recognized Lakeview’s need for appropriate recovery and

granted it leave to file the instant Motion for Sanctions. Id.




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                                 II. LEGAL STANDARD

   A. Sanctions

       Under Rule 26 of the Federal Rules of Civil Procedure, a Court can impose Rule

37 sanctions in order to financially compensate, or make whole, an aggrieved party who

had to defend against improper tactics used by another party during discovery.

       Federal Rule of Procedure 26(c)(3) provides that Rule 37(a)(5) applies to the

award of expenses in regards to protective orders. Rule 37(a)(5), in turn, outlines that,

when a Court grants a protective order, “the Court . . . must require the party . . . whose

conduct necessitated the motion . . . to pay the movant’s reasonable expenses incurred in

making the motion, including attorney fees.” Fed. R. Civ. P. 37(a)(5)(A).

       Rule 45 also allows for recovery when a party issuing a subpoena fails to “take

reasonable steps to avoid imposing undue burden or expense on a person subject to the

subpoena.” Fed. R. Civ. P. 45(d)(1). When a violation occurs, the court can “impose an

appropriate sanction—which may include lost earnings and reasonable attorney's fees—

on a party or attorney who fails to comply.” Id.

   B. Attorney Fees

       After determining that a basis exists for a proper award of attorney fees, the Court

must calculate a reasonable fee award. Hensley v. Eckerhart, 461 U.S. 424, (1983).

Generally, the Court utilizes the “lodestar figure,” which multiplies the number of hours

reasonably expended on the litigation by a reasonable hourly rate. Id. The Court can then

adjust the lodestar figure if necessary, based upon the factors set forth in Kerr v. Screen



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Extras Guild, Inc., 526 F.2d 67 (9th Cir.1975), that have not been subsumed in the

lodestar calculation. See Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 982 (9th Cir.

2008).

                                       III. ANALYSIS

         The Court has already explained in multiple decisions how NRCC’s subpoenas

were improper and will not repeat that discussion here. In short, Lakeview had to defend

itself, quash the subpoenas, and obtain an additional protective order based upon NRCC’s

tactics. An award of attorney fees and costs under Rules 26, 37, and 45 is, therefore,

appropriate.

         Lakeview estimates that it incurred $16,011.75 in fees and costs in relation to the

quashing of the subpoenas and obtaining the protective order as follows:

    1. Attorney fees for Teague Donahey at $435/hour for 5.2 hours totaling $2,262.00.

    2. Attorney fees for Christopher McCurdy at $225/hour for 44.1 hours totaling

         $9,922.50.

    3. Paralegal fees at $190/hour for .5 hours totaling $95.00.

    4. Lexis computerized research charges in the amount of $232.50.1




1
 A careful reading of Greg Gaglio’s Declaration (Dkt. 83-2, at 3), and the attached Holland and
Hart invoice (Dkt. 83-2, at 13), shows that this total should be $232.25 not $232.50.




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    5. A flat fee of $3,500 for H1 Law Group to prepare the instant Motion for

       Sanctions.

       In response to this Motion, NRCC has raised three objections: First, Teague

Donahey is not entitled to $435 an hour; second, the total number of hours is excessive;

and third, there is a calculation error wherein approximately 4 hours is unaccounted for.2

       Normally, when attorney fees are at issue, it is most efficient to submit an affidavit

that outlines the applicable market rates and any individual attorney’s rates. The Court

understands that current counsel is not the counsel that incurred these bills. However, that

is of little consequence, as an affidavit would not have been difficult to obtain and would

have aided the Court in its determination today.

       Nevertheless, this Court is very familiar with the market rates in the Boise area

and specifically with the rates charged by the Boise office of Holland and Hart. See Balla

v. Idaho State Bd. of Correction, No. CV-81-1165-S-BLW, 2016 WL 6762651, at *12

(D. Idaho Feb. 1, 2016) (noting that the Holland and Hart Boise office charges between

$195 and $495 for attorneys based upon their experience and between $180 and $205 for

paralegals). Furthermore, although NRCC contends that $435/hour for Teague Donahey

is “excessive for the Boise area” it provides no evidence for this proposition. Although at



2
  In its reply, Lakeview noted that it had in fact erroneously redacted the details regarding these
four hours and submitted a new accounting for the hours. The Court has reviewed the
documents, and the hours logged now match the hours requested.




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the higher end of the Boise legal market,3 a rate of $435/hour for Teague Donahey, based

upon his experience and expertise, is appropriate and the Court will award the requested

$2,262.00 for the work he performed.

       NRCC does not object to the rate of $225/hour charged by Chris McCurdy, but

rather the amount of hours he expended. At the outset, the Court notes that $225/hour is

reasonable for the Boise market as outlined above.

       NRCC’s objection here—again, with nothing more than the statement itself—is

that the hours requested by McCurdy are excessive. NRCC alleges that “McCurdy’s total

of 44.1 hours for preparing a 14 page brief on a single issue is manifestly

disproportionate to the dispute.” Dkt. 85, at 5. Not only does this statement completely

disregard other necessary materials Lakeview had to file, such as a reply brief and

modified protective order, but NRCC is well aware of the facts and circumstances

surrounding this issue. There were informal conferences between counsel and between

the Court and counsel that required preparation and research. The ordeal itself took place

over approximately a month’s time. To say that a single brief was all that was required

here is a misleading statement.

       The Court has thoroughly (line by line) reviewed the accounting Lakeview

provided and agrees that all entries fall under the Court’s prior order that Lakeview be



3
  See LaPeter v. Canada Life Ins. of Am., No. CV-06-121-S-BLW, 2007 WL 4287489, at *1 (D.
Idaho Dec. 4, 2007) (finding that “attorneys at regional firms, such as Holland & Hart, charge
hourly rates at or near, but not above, the high end of acceptable rates for the Boise area.”).



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made whole from having to defend against the subpoenas. Finally, it is not this Court’s

job to determine the exact amount of time it should take an attorney to accomplish any

given task. Such a system of oversight or expectation would undermine individual

attorney’s experience and abilities, law firm billing procedures, and set an improper

precedence and expectation for future attorney fee claims. In sum, the Court approves the

requested hourly rates and the number of hours billed.

       NRCC has not objected to the $95 in paralegal costs, nor the $232.25 in research

costs. The paralegal costs are in line with applicable rates and the Court finds the research

costs appropriate and recoverable. See Bjornson v. Dave Smith Motors/Frontier Leasing

& Sales, 578 F. Supp. 2d 1269, 1289 (D. Idaho 2008).

       Finally, the Court will not award H1 Law Group a flat $3,500 for the preparation

of the instant Motion. The Court understands why H1 made the request, however, (1) the

Court will not award a flat fee rather than an hourly accounting; and (2) while the instant

motion and memorandum would not have been necessary absent the improper tactics of

NRCC and the Court’s decision granting Lakeview leave to seek sanctions, these fees are

not properly raised at this time. The Court’s award today makes Lakeview whole for

having to quash NRCC’s improperly issued subpoenas and obtain an additional

protective order. Lakeview is free to raise the fees and costs incurred by H1 Law Group

regarding these issues upon completion of this case if it is the prevailing party.




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                                  IV. ORDER

    IT IS ORDERED:

    1.    Lakeview’s Motion for Sanctions (Dkt. 83) is GRANTED IN PART AND

          DENIED IN PART. All fees and costs will be awarded EXCEPT those

          requested by H1 Law Group.

    2.    The Court hereby awards Lakeview attorney fees in the amount of

          $12,279.50 and costs in the amount of $232.25 for a total award of

          $12,511.75.

    3.    NRCC has 30 days to comply with this order.


                                            DATED: May 15, 2018


                                            _________________________
                                            David C. Nye
                                            U.S. District Court Judge




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